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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                              MIAMI DIVISION
                           CASE NO. 08-20574-CRIMINAL-LENARD
     3

     4   UNITED STATES OF AMERICA,                Miami, Florida

     5                     Plaintiff,             December 2, 2010

     6               vs.                          2:04 p.m. to 2:41 p.m.

     7   RALPH MERRILL,

     8                  Defendant.          Pages 1 to 22
         ______________________________________________________________
     9

   10        EXCERPTED TESTIMONY OF JERRY MILLER FROM THE JURY TRIAL
                    HELD BEFORE THE HONORABLE JOAN A. LENARD,
   11                      UNITED STATES DISTRICT JUDGE

   12
         APPEARANCES:
   13

   14    FOR THE GOVERNMENT:            ELOISA FERNANDEZ, ESQ.,
                                        ADAM SCHWARTZ, ESQ., and
   15                                   FRANK TAMEN, ESQ.
                                        ASSISTANT UNITED STATES ATTORNEYS
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   23    REPORTED BY:                   LISA EDWARDS, CRR, RMR
                                        Official Court Reporter
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                                                                                  2


     1                             I N D E X

     2

     3                                              Direct    Cross    Red.

     4

     5   WITNESS FOR THE GOVERNMENT:

     6
         Jerry Miller                                  3       21
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     1               THE COURT:     Call your next witness.

     2               MR. SCHWARTZ:     The United States calls Mr. Jerry

     3   Miller.

     4                 JERRY MILLER, GOVERNMENT WITNESS, SWORN

     5               THE COURTROOM DEPUTY:     Thank you.    You may be seated.

     6               Please state your name with the spelling.

     7               THE WITNESS:    Jerry Miller, J-e-r-r-y M-i-l-l-e-r.

     8                              DIRECT EXAMINATION

     9   BY MR. SCHWARTZ:

   10    Q.     Mr. Miller, where do you work?

   11    A.     At the United States Army Criminal Investigation

   12    Laboratory.

   13    Q.     And where is that located?

   14    A.     Atlanta, Georgia.

   15    Q.     What kind of work is done at the United States Army Crime

   16    Lab?

   17    A.     It's a forensic laboratory that does latent fingerprint

   18    work, firearms and tool mark work, DNA, drug examinations,

   19    forensic documents and some other things.

   20    Q.     Is that for criminal investigations?

   21    A.     Yes, it is.

   22    Q.     What is your title at the US Army Crime Lab?

   23    A.     Firearm and tool mark examiner.

   24    Q.     What does it mean to be a firearm and tool mark examiner?

   25    A.     Well, on firearms, I look at various guns to determine if
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     1   they're functioning and, if they're not functioning, why

     2   they're not functioning.       I look at ammunition, both -- unfired

     3   ammunition to determine what type of ammunition it is, who made

     4   it, country of origin.

     5         I look at fired cartridge cases, fired bullets, fired shot

     6   shells, fired ammunition components, to determine what type of

     7   gun could have fired it and if a specific gun was submitted to

     8   determine if that gun was, in fact, the one that fired those

     9   components.

   10          For tool marks, generally speaking, a tool mark is any

   11    object that is hard that puts a mark on a softer object.            For

   12    example, when you take a knife and you cut a chunk of cheese,

   13    you'll look and you'll see little scratches in the cheese where

   14    you made the cut.

   15          What's producing those is the blade of the knife.          Each

   16    individual surface of that blade is producing those tool marks.

   17    That's what I'm looking at, those kinds of marks.

   18          And I'm looking at things from bolt cutters, screwdrivers,

   19    pliers, really just anything that's capable of producing a

   20    mark.

   21    Q.    Mr. Miller, did you receive special training to be a

   22    firearm and tool mark examiner?

   23    A.    Yes.   I attended a two-year training program that's based

   24    on a training program established by the Association of Firearm

   25    and Tool Mark Examiners, AFTE.
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     1         This is an international association of members who have

     2   developed over the last 40 years a training program as a

     3   standard for all fire and tool mark examiner trainings to

     4   follow.

     5   Q.    Are you certified in any certain areas of the practice or

     6   the field?

     7   A.    Yes, I am.    Again, the AFTE, "AFTE," provides a

     8   certification program in the area of firearm and tool mark

     9   identification, the area of gunshot residue and distance

   10    determination.     These are three separate areas, and I am

   11    certified in all three.

   12    Q.    Is it common to have certification in all three areas?

   13    A.    No.   Currently, of the eligible members, those who qualify,

   14    approximately 4 percent are certified in all three areas.

   15    Q.    How long have you been in this field?        If you could, walk

   16    the jury briefly through your career and work history.

   17    A.    Well, I started work cases in 1989 after completing a

   18    training program with the Corpus Christi, Texas, Police

   19    Department.

   20          After a few years, I went to work for the Bureau of

   21    Alcohol, Tobacco and Firearms in the Atlanta laboratory.            I was

   22    there for 12 years before going to the United States Army

   23    Criminal Investigation Laboratory.

   24    Q.    So, in all, do you have approximately 22 years' experience

   25    in the field?
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     1   A.    That's correct.

     2   Q.    And have you taught firearm and tool mark examination

     3   courses?

     4   A.    Yes, I have.    I also teach at the National Firearms

     5   Examiner Training Academy, which is a firearm and tool mark

     6   examiner academy that was established 10 years ago by the

     7   Bureau of Alcohol, Tobacco and Firearms.

     8   Q.    Have you published any articles in the field?

     9   A.    Yes, I have.    I've published numerous articles dealing with

   10    various aspects of firearms and tool marks, very specific areas

   11    dealing with criteria for identification and unusual tool marks

   12    for unusual examinations.

   13    Q.    And you talk about identification.        Does that include

   14    determining the origin or where the ammunition was manufactured

   15    or produced?

   16    A.    Yes, it does.

   17    Q.    Now, in the course of your duties and responsibilities,

   18    have you been asked to determine the place of manufacture of

   19    ammunition?

   20    A.    Yes, I have.    Basically, any case in which I examine fired

   21    cartridge cases, fired shot shells or unfired ammunition,

   22    that's one of the first examinations that's done, is to

   23    determine what it is and who made it and where.

   24    Q.    How many times have you done that, just ballpark?

   25    A.    Thousands.
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     1   Q.    Have you testified in court on the same subject matter,

     2   determining where ammunition was manufactured?

     3   A.    Yes, I have.

     4   Q.    How many times?

     5   A.    Hundreds of times.

     6   Q.    And have you been certified as an expert witness in federal

     7   court previously?

     8   A.    Yes, I have.

     9   Q.    How many times?

   10    A.    Oh, at least a dozen times.

   11               MR. SCHWARTZ:     Your Honor, at this time the Government

   12    would offer Mr. Miller as an expert in firearm and tool mark

   13    examination.

   14               MR. BIEBER:     No objection.

   15               THE COURT:    He'll be accepted as an expert in the

   16    field.

   17    BY MR. SCHWARTZ:

   18    Q.    Mr. Miller, can you explain to the ladies and gentlemen of

   19    the jury what steps you go through to identify the origin of

   20    manufacture of a piece of ammunition.         Why don't we break that

   21    down smaller.

   22          What's the proper term for a bullet or a piece of

   23    ammunition?

   24    A.    An unfired or live cartridge case consists of the actual

   25    holder, which we call a cartridge case.         That's the metal piece
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     1   that holds the powder, the bullet and the primer.

     2         The primer is located at the bottom of the cartridge case

     3   in what we call the head.       That's what gets impacted by a

     4   firing pin, which causes a flash to ignite the powder.

     5         The bullet is at the mouth or the opening of the cartridge

     6   case.    That's what gets expelled out of the barrel when it's

     7   discharged.

     8   Q.    And how can you take a cartridge and determine its origin?

     9   A.    Well, the first thing I'm looking at is the cartridge case

   10    head.    At the bottom of the cartridge case head is stamped a

   11    series of numbers or letters or symbols that's put on there by

   12    the manufacturer when the cartridge case is actually being

   13    formed.

   14          Those letters, numbers and symbols can mean a variety of

   15    different things, depending on the manufacturer.           Sometimes it

   16    names the actual manufacturer.        Sometimes it'll name the

   17    caliber.    It'll name the year that that particular cartridge

   18    was manufactured.      It'll provide a symbol, and that symbol

   19    designates who the manufacturer was.

   20          Once I have that information, I do two things with that.            I

   21    look it up in our known references that we have in the

   22    laboratory that covers ammunition from all over the world, and

   23    I also do an actual manual comparison with what we call known

   24    standards.

   25          In other words, we have over a million rounds of ammunition
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     1   in our reference collection.       I take one of those bullets that

     2   we know, one of those cartridge cases that we know who makes

     3   it, where it was made, and do a direct comparison with the

     4   unknown cartridge case.

     5         Another thing I look at is the actual components of the

     6   cartridge.    I'm looking at the cartridge case, how it's primed.

     7   For example, there's a central hole in some cartridge cases.

     8   Some cartridge cases have two holes.         That's where the flash

     9   from the primer go through to ignite the powder.

   10          In the United States, there's usually one hole.          On

   11    cartridges manufactured outside the United States, for the most

   12    part, there's two holes.       Now, there are exceptions to those,

   13    but that's generally what occurs.

   14          Next I look at the actual bullet, the bullet style.           Is

   15    that consistent with a style of the bullet that that

   16    manufacturer produces or has that manufacturer never produced a

   17    cartridge case with that bullet style, meaning that somebody

   18    else has put that bullet into that cartridge case as a reloaded

   19    cartridge case or as a different manufacturer that used the

   20    previous manufacturer's cartridge case to load their specific

   21    round?

   22          If it's a military bullet, military bullets have what's

   23    called steel core penetrators.        Basically, what this is is a

   24    Tungsten or steel or hard metal core that's encased inside the

   25    bullet with the copper jacketing surrounding that bullet.
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     1           A lot of manufacturers, a lot of different companies, will

     2    use a specific design for that core.        So I'll cut the bullet

     3    open and take a look at that core and compare that with --

     4    again, with our known standards to determine if that's

     5    consistent with the type of core that that bullet is normally

     6    loaded with.

     7    Q.     And do you then use reference manuals as well?

     8    A.     Yes.

     9    Q.     Now, in this case, were you asked to determine the place of

    10    manufacture of certain rounds of ammunition?

    11    A.     Yes, I was.

    12    Q.     And can you move the microphone just a little bit closer to

    13    you.    I think that might help.

    14    A.     Yes.

    15    Q.     Now, what were you asked to do in this case?

    16    A.     I was asked to look at several cartridges that were

    17    submitted and to determine where they were manufactured.

    18    Q.     And what caliber of ammunition were you looking at?         And

    19    what is at issue here?      What's the type of caliber?

    20    A.     I was looking at, basically, two different types of -- two

    21    calibers of ammunition, 7.62 x 39, meaning 7.62 millimeters,

    22    the diameter of the bullet, by 39 millimeters, which is the

    23    length of the case.     This is the standard cartridge for the

    24    AK-47 series of firearms.

    25           I was also asked to look at 7.62 x 54 millimeter, which is,
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     1    basically, a 7.62 diameter bullet with a 54-millimeter case,

     2    which is the standard cartridge for the Soviet sniper rifle

     3    that they call a Dragunov.

     4    Q.   And what specific steps did you take to determine the

     5    origin of the ammunition that was presented to you?

     6    A.   Well, I looked at the head stamp, first of all, to get the

     7    information from there and, again, checked our references and

     8    known standards to determine the country of origin.

     9         Then I took a sample and cut it open and cut the bullet

    10    open and looked again to determine if that was still consistent

    11    with what are normally found in those bullets by that

    12    manufacturer.

    13    Q.   Were you able to determine the origin of each round that

    14    was sent to you for analysis?

    15    A.   Yes, I was.

    16    Q.   Now, you mentioned head stamps and the ammunition that you

    17    were asked to review.

    18         Were the head stamps letters?       Numbers?    Symbols?   What did

    19    they consist of here?

    20    A.   They consisted of numbers.       If you looked at the cartridge

    21    and head stamp and looked at the numbers right side up, you had

    22    two numbers at the top and two or three numbers at the bottom.

    23    One number tells me the country of origin, and the other number

    24    tells me the year it was manufactured.

    25    Q.   Let's start looking at some of this ammunition.
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     1         If we could bring up on screen Government's Exhibit 43.8

     2    and 43.8-A, which is -- all of the exhibits should be laid out

     3    in front of you by numerical order.        43.8-A.

     4         Now, in 43.8-A, is there a head stamp with a number 501 on

     5    the top and a number 72 on the bottom?

     6    A.   Yes, there is.

     7    Q.   And if I use the term "501 over 72," does that make sense

     8    as what number is on top and what number is on the bottom?

     9    A.   Yes, it does.

    10    Q.   Were you able to determine where that round of ammunition

    11    was manufactured?

    12    A.   This cartridge was manufactured in the People's Republic of

    13    China in 1972.

    14    Q.   And in the course of your investigation, were you familiar

    15    with the head stamp number 61 over 62?

    16    A.   Yes.

    17    Q.   And could you look at Government's Exhibit 43.5-A.

    18    Government's Exhibit 43.5 is on the screen.

    19         Now, does any ammunition in that exhibit contain the head

    20    stamp 61 over 62?

    21    A.   Yes, it does.

    22    Q.   Where was that round of ammunition manufactured?

    23    A.   In the People's Republic of China in 1962.

    24    Q.   Now, are you familiar with the head stamp 31 over 69?

    25    A.   Yes, I am.
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     1    Q.   And it should be located in Government's Exhibits 43.8-A

     2    and 43.13-A.

     3    A.   43.13-A?

     4    Q.   Sorry.    48.13-A.

     5    A.   Yes.

     6    Q.   And those exhibits include the head stamp 31 over 69.           Is

     7    that correct?

     8    A.   Yes, they do.

     9    Q.   Where was that ammunition manufactured?

    10    A.   In the People's Republic of China in 1969.

    11    Q.   Now, you're familiar with the head stamp 31 over 67?

    12    A.   Yes, I am.

    13    Q.   And ammunition with that head stamp:        Where would it have

    14    been manufactured?

    15    A.   In the People's Republic of China in 1967.

    16    Q.   And if you could check, do Exhibits 42.24-A, -B and -C and

    17    43.8-A include that head stamp?

    18    A.   43.8-A?

    19    Q.   Yes.

    20    A.   Yes.

    21    Q.   Now, that ammunition that we referred to:         Were those

    22    manufactured in the People's Republic of China?

    23    A.   Yes, they were.

    24    Q.   If we can -- are you familiar with the head stamp number 71

    25    on top and 62 on the bottom?
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     1    A.   Yes.

     2    Q.   Where was ammunition with that head stamp manufactured?

     3    A.   The People's Republic of China in 1962.

     4    Q.   And did you review Government's Exhibits 44.5-A, 49.15-A,

     5    50.4-A, 51.15-A and 53.11-A?

     6    A.   Yes, I did.

     7    Q.   And were those rounds of ammunition manufactured in the

     8    People's Republic of China?

     9    A.   Yes, they were.

    10    Q.   Now, Government's Exhibit 44.6-A, if you would look at

    11    that exhibit, does that include ammunition with the head stamp

    12    31 over 65?

    13    A.   Yes, it does.

    14    Q.   And did you review that ammunition?

    15    A.   Yes.

    16    Q.   Where was that ammunition manufactured?

    17    A.   In the People's Republic of China in 1965.

    18    Q.   Okay.    Now, did you review ammunition with the head stamp

    19    61 over 64?

    20    A.   Yes, I did.

    21    Q.   And would that be 45.5-A and 55.18-A?

    22    A.   It's 45.5-A and....

    23    Q.   55.18-A.

    24    A.   Yes.

    25    Q.   And that ammunition:      Was that manufactured in the People's
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     1    Republic of China?

     2    A.   Yes, it was.

     3    Q.   And, Mr. Miller, are you familiar with the head stamp

     4    61 over 66?

     5    A.   Yes, I am.

     6    Q.   And you reviewed ammunition in this case that had that head

     7    stamp?

     8    A.   Yes, I did.

     9    Q.   And were those Government's Exhibits 45.7-A, 48.6-A and

    10    52.13-A?

    11    A.   Yes.

    12    Q.   And where were those rounds of ammunition manufactured?

    13    A.   In the People's Republic of China.

    14    Q.   And in the course of your investigation, did you come

    15    across ammunition in Exhibit 46.4-A with the head stamp of

    16    81 over 69?

    17    A.   That was 46.6-A?

    18    Q.   46.4-A.

    19    A.   Yes.

    20    Q.   And did you determine where that ammunition was

    21    manufactured?

    22    A.   In the People's Republic of China.

    23    Q.   And, Mr. Miller, just to be clear, each of these exhibits

    24    that you've looked through:       Are these the actual ammunition

    25    rounds that you examined and -- at the US Army Crime Lab?
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     1    A.   Yes, they are.

     2    Q.   How can you tell that?

     3    A.   Because the package that they came in is -- has my initials

     4    and seal on it with the date and case number, other information

     5    that I put on there.

     6    Q.   And, Mr. Miller, are you familiar with -- were you asked to

     7    review ammunition that included the head stamp 61 over 65?

     8    A.   Yes, I was.

     9    Q.   And that would be 46.6-A, 46.11-A and 50.4-A.          Is that

    10    correct?

    11    A.   That's correct.

    12    Q.   And where was that ammunition manufactured?

    13    A.   The People's Republic of China.

    14    Q.   In the course of your review of the ammunition, did you

    15    come across ammunition with the head stamp of 71 over 66?

    16    A.   Yes, I did.

    17    Q.   And there's a number of exhibits that include that

    18    ammunition.    Is that correct?

    19    A.   Yes.

    20    Q.   49.6-A, 49.11-A, 49.19-A, 51.9-A, 51.15-A, 52.6-A, 52.9-A,

    21    52.16-A, 53.6-A, 53.15-A, 53.19-A, 54.12-A, 54.16-A, 54.22-A,

    22    55.6-A:     Were you able to determine where those rounds of

    23    ammunition were manufactured?

    24    A.   Yes.    The People's Republic of China.

    25    Q.   Now, if I can have you take a look at Government's
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     1    Exhibit 47.6-A, what is the head stamp on that ammunition?

     2          Could we please bring up Government's Exhibit 47.6 on the

     3    monitor.

     4    A.    That's 23 over 71.

     5    Q.    And were you able to determine where that ammunition was

     6    manufactured?

     7    A.    In Hungary in 1971.

     8    Q.    So not the People's Republic of China.        Is that correct?

     9    A.    That's correct.

    10    Q.    Now, if we could look at Government's Exhibit 48.9-A, does

    11    that ammunition include ammunition with the head stamp 61 over

    12    74?

    13    A.    Yes, it does.

    14    Q.    Did you determine where that ammunition was manufactured?

    15    A.    In the People's Republic of China.

    16    Q.    Now, there's a number of -- are you familiar with the head

    17    stamp number 61 over 67?

    18    A.    Yes, I am.

    19    Q.    And did you review exhibits with that -- ammunition with

    20    that head stamp, particularly 42.23-A, 49.24-A and 49.27-A?

    21    A.    Yes.

    22    Q.    Does that ammunition have the head stamp 61 over 67?

    23    A.    Yes, it does.

    24    Q.    And where was that ammunition manufactured?

    25    A.    In the People's Republic of China.
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     1    Q.   And are you familiar with or have you reviewed ammunition

     2    with the head stamp 71 over 67?

     3    A.   Yes.

     4    Q.   And was that ammunition Government's Exhibits 54.26-A and

     5    56.14-A?

     6    A.   Yes.

     7    Q.   And were you able to determine where that ammunition was

     8    manufactured?

     9    A.   In the People's Republic of China.

    10    Q.   Now, if you could go to -- the head stamp 31 over 58:           Did

    11    you review that ammunition?

    12    A.   Yes, I did.

    13    Q.   And was that Government's Exhibit 55.11-A?

    14    A.   Yes, it is.

    15    Q.   Okay.   And where was that ammunition manufactured?

    16    A.   The People's Republic of China.

    17    Q.   What year?

    18    A.   1958.

    19    Q.   And was there any ammunition that you analyzed that had

    20    just the head stamp number 64?

    21    A.   Yes.

    22    Q.   And would that be Government's Exhibits 50.8-A and 56.9-A?

    23    A.   Yes.

    24    Q.   Where was that ammunition -- were you able to determine

    25    where that ammunition was manufactured?
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     1    A.   In the People's Republic of China.

     2    Q.   Now, did you review ammunition that had the head stamp

     3    31 over 66?

     4    A.   Yes.

     5    Q.   And did that include 51.13-A, 51.6-A, 53.24-A, 53.28-A and

     6    56.18-A?

     7    A.   What was the last one?

     8    Q.   56.18-A.

     9    A.   Yes.

    10    Q.   And where was that ammunition manufactured?

    11    A.   The People's Republic of China.

    12    Q.   And did you find any ammunition -- were you asked to review

    13    any ammunition that included the head stamp 661 over 67?

    14    A.   Yes.

    15    Q.   And did those include Government's Exhibits 51.15-A and

    16    54.7-A?

    17    A.   Yes.

    18    Q.   And where was that ammunition manufactured?

    19    A.   The People's Republic of China.

    20    Q.   What year?

    21    A.   1967.

    22    Q.   Okay.    And only two more head stamps left to go.

    23         Head stamp 31 over 67:      Did you review ammunition with that

    24    head stamp?

    25    A.   Yes, I did.
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                           Miller - DIRECT - By Mr. Schwartz                    20


     1    Q.   Was that Government's Exhibit 55.15-A?

     2    A.   Yes.

     3    Q.   And were you able to determine where that ammunition was

     4    manufactured?

     5    A.   The People's Republic of China.

     6    Q.   And what year?

     7    A.   1964.

     8    Q.   And last, but not least, Government's Exhibit 57.6-A, if

     9    you could look at that.

    10         What is the head stamp on that ammunition?

    11    A.   71 over 69.

    12    Q.   What's the caliber of this ammunition?

    13    A.   7.62 by 54.

    14    Q.   So that's the larger caliber?

    15    A.   Yes, it is.

    16    Q.   Where was this ammunition manufactured and when?

    17    A.   The People's Republic of China, 1969.

    18    Q.   And, Mr. Miller, just to be clear, but for Government's

    19    Exhibit 47.6-A, where was the remaining ammunition manufactured

    20    that you just reviewed?

    21    A.   The People's Republic of China.

    22    Q.   And that one exhibit, 47.6-A:       Where was that ammunition

    23    manufactured?

    24    A.   In Hungary.

    25                 MR. SCHWARTZ:   No further questions.
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                            Miller - CROSS - By Mr. Bieber                      21


     1                THE COURT:    Cross-examination.

     2                MR. BIEBER:   Thank you, Judge.

     3                              CROSS-EXAMINATION

     4    BY MR. BIEBER:

     5    Q.   Mr. Miller, good afternoon.

     6    A.   Good afternoon.

     7    Q.   My name is Brian Bieber.

     8         We've never met or spoken about this case, have we?

     9    A.   No, sir.

    10    Q.   You would agree with me that most of the ammunition that

    11    you have there in front of you was manufactured in China.

    12    Right?

    13    A.   Yes.

    14    Q.   And some of it in Hungary?

    15    A.   Yes.

    16    Q.   You test-fired ammunition in this case.         Right?

    17    A.   Yes, I did.

    18    Q.   "Test-fired" means you put those bullets that were sent to

    19    you into a weapon that it works with and fired it.            Right?

    20    A.   That's correct.

    21    Q.   You tested even the oldest ammunition in the case.           Right?

    22    A.   I test-fired one of the oldest rounds and one of the most

    23    recent rounds, and the ammunition functioned as I would expect

    24    it to.

    25    Q.   And it functioned as it was designed -- it fired as it was
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                            Miller - CROSS - By Mr. Bieber                      22


     1    designed to fire.     Right?

     2    A.   Yes.

     3    Q.   And do you know if this ammunition that's in front of you

     4    came from, was seized in, Afghanistan?

     5    A.   I do not know.

     6    Q.   Do you have any personal knowledge that Ralph Merrill

     7    caused that ammunition to be shipped to Afghanistan?

     8    A.   No, I do not.

     9                MR. BIEBER:    I don't have anything else, Judge.

    10                MR. SCHWARTZ:    No further questions, your Honor.

    11                THE COURT:    You may step down, sir.

    12                (Witness excused.)

    13                (End of requested excerpt.)

    14

    15                              C E R T I F I C A T E

    16

    17                I hereby certify that the foregoing is an accurate

    18    transcription of the proceedings in the above-entitled matter.

    19

    20

    21    ____________             /s/Lisa Edwards_____
              DATE                 LISA EDWARDS, CRR, RMR
    22                             Official United States Court Reporter
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